         Case 3:08-cr-00061-LC                Document 251       Filed 10/17/08        Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                         Page 1 of 6
3:08cr61-007LAC - STEVEN PINKNEY


                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                        Case # 3:08cr61-007LAC

STEVEN PINKNEY
                                                            USM # 07010-017

                                                            Defendant’s Attorney:
                                                            Christopher Patterson (Apptd)
                                                            P. O. Box 9474
                                                            Panama City, Florida 32417
___________________________________

                                     JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count One of the Indictment on July 24, 2008. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count which involves the following offense:

       TITLE/SECTION                        NATURE OF                 DATE OFFENSE
          NUM BER                            OFFENSE                   CONC LUDED             COUNT

 21 U.S.C. §§                   Conspiracy to Distribute and            July 3, 2008            One
 841(b)(1)(B)(ii), (iii), and   Posse ss w ith Intent to Distribute
 846                            500 Grams or More of Cocaine and
                                5 Grams or More of Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                            Date of Imposition of Sentence:
                                                            October 9, 2008


                                                            s /L.A. Collier
                                                            LACEY A. COLLIER
                                                            SENIOR UNITED STATES DISTRICT JUDGE

                                                            October 17, 2008
         Case 3:08-cr-00061-LC                Document 251      Filed 10/17/08   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                   Page 2 of 6
3:08cr61-007LAC - STEVEN PINKNEY


                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 60 months as to Count One.

         The defendant is remanded to the custody of the United States Marshal.




                                                    RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                             __________________________________
                                                                   UNITED STATES MARSHAL


                                                           By:__________________________________
                                                                       Deputy U.S. Marshal
         Case 3:08-cr-00061-LC                Document 251        Filed 10/17/08         Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                               Page 3 of 6
3:08cr61-007LAC - STEVEN PINKNEY


                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Five Years as to Count One.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                           STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant sh all not leave the ju dicial district without the permission of the court or probation
         officer;

2.       The defe nda nt shall repo rt to the probation officer and shall submit a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant sh all notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled sub stance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       T he defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with any person convicted of a felony unless granted permission to do so by the probation
         officer;
         Case 3:08-cr-00061-LC                Document 251           Filed 10/17/08          Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                    Page 4 of 6
3:08cr61-007LAC - STEVEN PINKNEY



10.      The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or pe rsonal history or characteristic s and shall perm it
         the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this judgment imposes a fin e or a restitution obligation , it shall be a condition of supervision that the
         defendant pay any such fine or restitution in ac cordan ce w ith the S che dule of Paym ents set forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall be evaluated for substance abuse and referred to treatment as
         determined necessary through an evaluation process. The defendant may be tested for the
         presence of illegal controlled substances or alcohol at any time during the term of
         supervision.

         The defendant shall cooperate with the Probation Department and/or any state agency
         responsible for the establishment and enforcement of child support payments. Additionally,
         he shall make all required child support payments.
         Case 3:08-cr-00061-LC                Document 251   Filed 10/17/08   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                  Page 5 of 6
3:08cr61-007LAC - STEVEN PINKNEY


       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                   Date




         U.S. Probation Officer/Designated Witness                   Date
         Case 3:08-cr-00061-LC                Document 251        Filed 10/17/08    Page 6 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                         Page 6 of 6
3:08cr61-007LAC - STEVEN PINKNEY


                                  CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                    SUMMARY
           Special
     Monetary Assessment                                   Fine                    Restitution

              $100.00                                       $0                         $0




                                 SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed and is to be paid immediately.

No fine imposed.
No restitution imposed.
